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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


                                                          MDL No. 2:18-mn-2873-RMG

 IN RE: AQUEOUS FILM-FORMING FOAMS
 PRODUCTS LIABILITY LITIGATION

                                                          This Document relates to:
                                                          ALL CASES




                    PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
                           FROM THE TOG DEFENDANTS


       Pursuant to Rules 26, 30 and 37 of the Federal Rules of Civil Procedure and Local Civil

Rules 7.04 and 37.01, the Plaintiffs’ Executive Committee (“PEC”), on behalf of various Plaintiffs,

respectfully moves this Court for an Order compelling Defendants Allstar Fire Equipment, Fire-

Dex, LLC, Globe Manufacturing Company LLC, Honeywell Safety Products USA, Inc., Lion

Group, Inc., Mallory Safety and Supply LLC, Mine Safety Appliances Company, LLC, Municipal

Emergency Services, Inc., PBI Performance Products, Inc., Southern Mills Inc. d/b/a TenCate

Protective Fabrics, Stedfast USA Inc., and W. L. Gore & Associates Inc. (collectively, the “TOG

Defendants”) to promptly provide information and documents responsive to Plaintiffs’ First of Set

of Interrogatories and Requests for Production (the “ Discovery Requests”), and ruling that the

TOG Defendants have waived any objections they failed to include in their written responses to

those requests to date.
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I.      INTRODUCTION

        More than four months ago, Plaintiffs, by and through the PEC, served an initial set of

discovery requests on the TOG Defendants that were similar in scope and substance to those they

have served on numerous other defendants in this MDL. In the time since, Plaintiffs have yet to

receive a single document or piece of information responsive to those requests, as the TOG

Defendants have taken a kitchen-sink approach to avoiding their discovery obligations in this

MDL. Most egregiously, after receiving an extension of their deadline to provide written

responses to the pending requests, the TOG Defendants informed Plaintiffs—on the day those

responses were due, no less— that there were threshold “barriers” that needed to be resolved before

they would be willing to provide discovery in this case. This type of blanket refusal to participate

in discovery has no precedent in this MDL, nor is it consistent with the Court’s guidance to the

parties that MDLs require robust discovery. In addition, none of the barriers the TOG Defendants

identify—which include being part of an active bellwether process and the absence of a turnout

gear-specific Science Day and a turnout gear-specific Plaintiff Fact Sheet—have any bearing on

their obligation or ability to provide responsive discovery in this case.

         And while the TOG Defendants may claim they are not demanding prerequisites to

discovery, that claim rings hollow when they have declined multiple requests from Plaintiffs to

confirm their willingness to provide responsive discovery once all disputes over the scope of the

requested discovery are resolved. The simple truth is the TOG Defendants are unwilling to commit

to providing discovery absent the opportunity to participate in a turnout gear-specific Science Day

and the adoption of a turnout gear-specific Plaintiff Fact Sheet. That the TOG Defendants have

portrayed this position as an attempt to ensure a discovery process that “resembles what was done

for every other case pending in this MDL” is completely disingenuous, as none of the other
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defendants in this MDL have conditioned their willingness to provide discovery on these types of

demands.

         Despite the extreme and unprecedented nature of the positions they have taken, the TOG

Defendants are right about one thing: they are no different than any other sub-group of defendants

that Plaintiffs are entitled and obligated to conduct general discovery on. It is for this reason that

Plaintiffs, by and through the PEC, have filed this motion seeking an order compelling the TOG

Defendants to meet their discovery obligations in this MDL by providing information and

documents responsive to Plaintiffs’ Discovery Requests.

II.      FACTUAL BACKGROUND

         A.     The TOG Defendants’ Role in This MDL

         The TOG Defendants are a group of companies alleged to have been involved in the

manufacture, sale, and/or distribution of a type of protective clothing specifically designed for

firefighters that is commonly referred to as “turnout gear” or “turnouts.” Defendants Fire-Dex,

LLC, Globe Manufacturing Company LLC, Mine Safety Appliances Company, LLC, Honeywell

Safety Products USA, Inc., and Lion Group, Inc. are alleged to have manufactured turnout gear

containing PFAS components. Defendants PBI Performance Products, Inc., Stedfast USA, Inc.,

Southern Mills Inc. d/b/a/ Ten Cate Protective Fabrics USA, W.L. Gore & Associates, Inc. are

alleged to have supplied the PFAS components used by those manufacturers, and Defendants

AllStar Fire Equipment, L.N. Curtis & Sons, Mallory Safety and Supply LLC, and Municipal

Emergency Services Inc. are alleged to have acted as the distributors from whom firefighters

purchased the PFAS-containing turnout gear.

         The first case asserting claims against the TOG Defendants was transferred into this MDL

on February 4, 2021. See Transfer Order, In re Aqueous Film Forming Foams Prods. Liab. Litig.,

MDL No. 2873, ECF No. 54 (J.P.M.L. Feb. 4, 2021). Notably, the plaintiffs challenged the
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transfer order in that case on the grounds that because it did not “involve allegations of

groundwater contamination,” the case did not “involve the same factual core as the actions pending

in MDL No. 2873.” Id. at 2. In denying that challenge, the JPML determined that the plaintiffs’

“direct exposure” claims shared “several important factual questions with the groundwater

contamination cases in MDL No. 2873,” including “factual questions concerning the toxicity of

PFOA and PFOS and their effects on human health; the chemical properties of these substances; .

. . and to what extent, if any, defendants conspired or cooperated to conceal the dangers of PFOA

and PFOS in their products.” Id. The TOG Defendants did not join the plaintiffs in challenging

the transfer order in that case and since then have declined to challenge the transfer of additional

cases into this MDL that name them as defendants.

          B.     The TOG Defendants’ Refusal to Provide Responsive Discovery

          On May 13, 2022, the Plaintiffs served their First of Set of Interrogatories and Requests

for Production (the “Discovery Requests”) on each of the TOG Defendants except for Fire-Dex,

LLC, who was served four days later.1 Although focusing on a different type of product, the

substance of the Discovery Requests are largely similar to the Master Set of Discovery Requests

that the PEC previously propounded on other manufacturer defendants in this MDL. Shortly after

service of the Discovery Request, each of the TOG Defendants requested an extension of their

deadline to serve written responses to the Discovery Requests. 2 Plaintiffs agreed to each of those

extension requests and the deadline for the TOG Defendants to serve their written responses was

extended until July 8, 2022.3 In granting the extension requests, Plaintiffs presumed that the




1
  Plaintiffs’ Discovery Requests are attached to the Declaration of Andrew W. Croner (“Croner Decl.”) as Exhibits A
and B.
2
  Croner Decl., Exs. E–H.
3
    Id.

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additional time was needed to prepare substantive responses to the Discovery Requests that

complied with Federal Rules of Civil Procedure 33 and 34. The TOG Defendants did not suggest

otherwise and, in one instance, represented that the additional time was necessary to collect

responsive documents for production.4

            On July 8, 2022—the very day their written responses were due to be served—Plaintiffs

received a letter sent on behalf of all of the TOG Defendants raising for the first-time certain

threshold “barriers” they claimed needed to be resolved before providing information and

documents responsive to the Discovery Requests.5 Specifically, the TOG Defendants claimed

that the requested discovery was premature and unwarranted because: (1) it would not “materially

advance” the MDL; (2) the TOG Defendants had not had the opportunity to participate in a Science

Day before the Court; and (3) none of the existing Plaintiff Fact Sheets in the MDL included

questions specific to the claims asserted against the TOG Defendants. 6 Although the TOG

Defendants requested a meet and confer to discuss the issues they had outlined, they concluded

their letter by stating: “Until such time as the barriers described above are addressed and removed,

engaging in written discovery of the type served by Plaintiffs is overbroad, burdensome,

premature, and unwarranted.”7

            That same day, eight of the TOG Defendants served written responses to the Discovery

Requests, with another of the TOG Defendants serving a similar set of responses roughly a week




4
  See Croner Decl., Ex. E at 2 (5/17/2022 email from counsel for Defendant Mallory Safety Supply, LLC explaining
that his client’s rationale for requesting an extension of its deadline to respond to Plaintiffs’ Discovery Requests was
to “make sure we have sufficient time to get responsive documents together and produced”).
5
    Croner Decl., Ex. I.
6
    Id. at pp. 1-3.
7
    Id. at p. 3.

                                                           4
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later.8 In each instance, the relevant TOG Defendant objected to the Discovery Requests in their

entirety on largely the same grounds described in their July 8 letter. Although the responses

included specific objections for some requests, each of the nine TOG Defendants reserved the right

to assert additional objections to the requests “at the appropriate time.” 9 In addition, none of the

responses indicated whether responsive information and documents were being withheld on the

basis of the objections asserted for each request.

           C.       The Parties’ Efforts to Resolve the Present Discovery Dispute

           On July 22, 2022, Plaintiffs sent a letter responding to the TOG Defendants and explaining

why none of the purported barriers they identified provided any justification for their refusal to

provide information and documents responsive to the Discovery Requests. 10 Despite their strong

disagreement with the TOG Defendants’ position, Plaintiffs also confirmed that they were willing

to meet and confer on the issues identified in the TOG Defendants’ prior letter. That meet and

confer eventually took place on August 10, 2022, where the parties addressed the issues raised in

the TOG Defendants’ July 8 letter along with certain objections the TOG Defendants had to the

scope of the Discovery Requests. At the conclusion of the meet and confer, Plaintiffs asked the

TOG Defendants to confirm that once their scope objections were resolved, they would willingly

provide information and documents responsive to the Discovery Requests. The TOG Defendants

declined to provide the requested confirmation and said they would respond to Plaintiffs’ request

at a later date.




8
    Croner Decl., Exs. C–D.
9
  Croner Decl., Ex. C at 2, 22, 39-40, 59-60, 77, 98, 114, 135, 152, 172, 189, 211, 227, 250, 268, 288, (stating that
each of the respective TOG Defendants “expressly reserves its right to assert additional and/or more specific objections
to these and any additional or related discovery at the appropriate time”); id., Ex. D at 2, 21 (same for Defendant Fire-
Dex, LLC).
10
     Croner Decl., Ex. J.

                                                           5
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            On August 12, 2022, Plaintiffs and the TOG Defendants outlined their respective positions

on the present discovery dispute in competing inserts included in a Joint Status Report . 11 Although

Plaintiffs largely kept to the positions outlined in their July 22 letter, the TOG Defendants’ insert

suggested that their position on the discovery barriers they identified earlier had changed.

Specifically, the TOG Defendants criticized Plaintiffs for “recit[ing] a sentence from a now five-

week old July 8 letter, but curiously ignores the subsequent series of letters, phone conversations,

emails, and the meaningful meet and confer between representatives that resulted in significant

progress toward a possible resolution of many issues.” 12

            On August 16, 2022, the TOG Defendants sent another letter to Plaintiffs that focused

primarily on advancing negotiations over the scope objections discussed during the August 10

meet and confer.13 Nowhere in the letter did the TOG Defendants mention the discovery barriers

they had earlier identified, nor did they address Plaintiffs’ prior request to confirm their willingness

to provide responsive discovery. On August 31, 2022, Plaintiffs responded by reiterating their

request for confirmation of the TOG Defendants’ willingness to provide responsive discovery once

the scope issues were resolved, which they asked the TOG Defendants to provide within five

days.14 Plaintiffs also explained that absent the requested confirmation, they would need to file a

motion to compel on the threshold issue of TOG Defendants’ refusal to provide responsive

discovery before continuing any negotiations over the scope of the pending requests. 15




11
     Croner Decl., Ex. K.
12
  Id. at p. 32. The sentence Plaintiffs recited in their insert was the one stating: “Until such time as the barriers
described above are addressed and removed, engaging in written discovery of the type served by Plaintiffs is
overbroad, burdensome, premature, and unwarranted.” Croner Decl., Ex. I at p. 3.
13
     Croner Decl., Ex. L.
14
     Croner Decl., Ex. M.
15
     Id. at p. 1.

                                                         6
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            On September 6, 2022, the TOG Defendants informed Plaintiffs that they were unable to

meet the five-day deadline and would respond “as soon as circumstances permit.” 16 The next day,

Plaintiffs informed the TOG Defendants of their plans to file the present motion. 17 On September

13, 2022, the TOG Defendants sent a letter chastising Plaintiffs for the break down of negotiations

over the scope of the Discovery Requests, and failing to provide input on the TOG Defendants’

proposals for a TOG-specific Plaintiff Fact Sheet and Science Day. 18 In this most recent letter,

TOG Defendants also expressly adopted the position that because “the PEC discovery, TOG-

specific plaintiff fact sheet, and TOG-specific science day all relate to the proper timing and scope

of discovery and the established process for other Defendants and products in the MDL, the parties

should confer simultaneously on these issues to develop a cohesive plan, as was done for all other

cases pending in the MDL.”19 Despite all of this time and ability to provide discovery responses,

the TOG Defendants – unlike any Defendant in this MDL to date - are still refusing to respond to

discovery. As such an order compelling the discovery responses should issues by this Court as

well as a finding that any objections have been waived.

III.        ARGUMENT

            A.      Legal Standard

            Rule 26 of the Federal Rules of Civil Procedure provides that a party may “obtain discovery

regarding any non-privileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case….” Fed. R. Civ. P. 26(b)(1). “[T]he discovery rules are

given ‘a broad and liberal treatment.’” Harry v. Pilgrim’s Pride Corp., No. 3:12-cv-2268-CMC-



16
     Croner Decl., Ex. N at 1.
17
     Id.
18
     See Croner Decl., Ex. O.
19
     Id. at p. 3.

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SVH, 2013 U.S. Dist. LEXIS 22700, at *2 (D.S.C. Feb. 20, 2013) (quoting Nat’l Union Fire Ins.

Co. of Pittsburgh, P.A. v. Murray Sheet Metal Co. Inc., 967 F.2d 980, 983 (4th Cir. 1992)). The

scope of discovery permitted by Rule 26 is designed to provide a party with information reasonably

necessary to afford a fair opportunity to develop its case. Nat’l Union, 967 F.2d at 983; Ashmore

v. Owens, 2017 U.S. Dist. LEXIS 105543, at *2-3 (D.S.C. June 2, 2017). The TOG Defendants,

as the parties resisting discovery, “ha[ve] the burden of showing the discovery should not be

allowed and doing so through clarifying, explaining and supporting its objections with competent

evidence. Mach. Sols., Inc. v. Doosan Infracore Am. Corp., 323 F.R.D. 522, 526 (D.S.C. 2018).

The TOG Defendants cannot meet this burden.

            As this Court has previously recognized, the Rule 26 standard “shifts heavily toward

production” in this MDL,20 where there are more than 100 consolidated cases, important claims,

and significant amounts in controversy. As the Court noted on April 3, 2020, “discovery in an

MDL is robust.”21

            B.       The TOG Defendants Have Failed to Identify a Legitimate Justification for
                     Their Refusal to Provide Discovery in Response to Plaintiffs’ Requests

            As mentioned, the TOG Defendants have refused to provide discovery on the grounds that

Plaintiffs’ Discovery Requests are premature and unwarranted. 22 In support of that position, the

TOG Defendants have offered three justifications, none of which has any basis in the Federal Rules

of Civil Procedure or the discovery practices in this MDL. For the reasons discussed below, the

Court should reject each of these justifications and compel the TOG Defendants to promptly

provide information and documents responsive to Plaintiffs’ Discovery Requests.



20
     Croner Decl., Ex. P at 6:13-15.
21
     Croner Decl., Ex. Q at 32:19-20.
22
     Croner Decl., Ex. I at p. 3.

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            The TOG Defendants’ first justification is that the requested discovery will not advance

this MDL because the cases where they are named as defendants are “distinctly different from and

unrelated to” the “environmental” cases pending in the MDL. 23 As an initial matter, the TOG

Defendants’ assertion that the requested discovery must “materially advance the entire MDL”

before they have an obligation to respond is patently false.24 No such requirement exists in this

MDL. In fact, when a group of non-manufacturing defendants tried to advance a similar theory in

July 2019—arguing they should not be obligated to “engage in a large-scale document collection”

where the requested discovery was not relevant to the government contractor defense—the Court

was quick to reject it.25

            In addition, the JPML has already determined that the cases involving the TOG Defendants

“share several important factual questions with the groundwater contamination cases in MDL No.

2873.” Transfer Order at 2, In re Aqueous Film Forming Foams Prods. Liab. Litig., MDL No.

2873, ECF No. 54 (J.P.M.L. Feb. 4, 2021). If the TOG Defendants felt otherwise, they needed to

make those arguments to the JPML during the transfer proceedings, not in response to discovery

requests once the cases have already been pending in the MDL for over a year. Having supported

the JPML’s transfer of the TOG cases to this proceeding—either actively or by remaining silent

during the transfer proceedings—the TOG Defendants cannot now refuse to participate in this

MDL’s discovery proceedings.

            The TOG Defendants also claim that the requested discovery will not advance the MDL

because they are not named in any of the pending bellwether water supplier cases. 26 In fact, the



23
     Id. at p. 1.
24
     Croner Decl., Ex. O at p. 2.
25
     Croner Decl. Ex. R at 33:19-39:6.
26
     Croner Decl., Ex. I at p. 2.

                                                     9
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TOG Defendants argue that until cases they are involved in are “identified for bellwether

activation,” the requested discovery is not “warranted, appropriate, or consistent with the Court’s

desire to move the cases forward in an intentional streamlined fashion.” 27 As support, the TOG

Defendants have made the bald assertion that ever since the Court established the bellwether

process, “additional discovery has proceeded only in those cases selected for the water provider

Bellwether trial,” and claimed to be unaware of “a single defendant being served with ‘Master

Discovery’ or any other type of fact discovery who is not also a bellwether defendant.” 28 These

arguments are baseless, contrary to the well-developed record, including the years of Joint Status

Reports that document much of this history, and fails to justify the TOG Defendants’ continued

failure to respond to Plaintiffs’ Discovery Requests.

            For one thing, it is simply not true that since the bellwether process was established fact

discovery in the MDL has been limited only to the bellwether cases and the defendants named in

those cases. As one example, on May 20, 2021, Plaintiffs served Master Discovery on Daikin

America, Inc.—a MDL defendant not named in any of the bellwether cases—who has since

provided written responses to that discovery and produced over 60,000 documents totaling more

than 530,000 pages. Likewise, in the time since the bellwether process was established, Fire

Service Plus, Inc., another MDL Defendant not named in any of the bellwether cases, has provided

written responses to Master Discovery served by PEC and has produced close to 1,500 documents

totaling more than 75,000 pages. There are more examples of fact discovery against Defendants

outside of bellwether case discovery that has been undertaken Thus, the TOG Defendants’ lack of




27
     Croner Decl., Ex. I at p. 2.
28
     Id. at p. 2.

                                                    10
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involvement in the bellwether cases has no bearing on their obligation to respond to discovery in

this MDL.      This argument is lacking merit.

        The TOG Defendants are also mistaken in suggesting that a defendants’ discovery

obligations in this MDL only commence once their respective cases are “identified for bellwether

activation.” In fact, the discovery record in this case indicates that nothing could be further from

the truth. By the time the Court entered CMO 13 establishing a bellwether process for water

provider r cases, the manufacturer defendants had already produced close to 2.5 million documents

and Plaintiffs had already taken 28 depositions of defense witnesses. 29 This is consistent with the

practice in most MDLs, where a bellwether process providing for case-specific work ups are

routinely established after significant progress has been made on general liability discovery. In

other words, the TOG Defendants put the cart before the horse in taking the position that general

liability discovery should begin only after a bellwether process has been negotiated and started.

For this reason, the fact that the TOG Defendants are not presently implicated in any bellwether

process or case in this MDL cannot be used to justify their refusal to provide discovery in response

to Plaintiffs’ Discovery Requests.

        The second justification the TOG Defendants offer is that they should not be required to

respond to Plaintiffs’ Discovery Requests until they are given the opportunity to participate in a

Science Day focusing specifically on the medical and scientific issues related to turnout gear

exposure. But there is no requirement that the Court even hold a Science Day, much less provide

an opportunity for all parties in the MDL to participate. Further, the Science Day held in

September 2019 was not an opportunity for the participating parties to litigate the scientific issues



29
  See Croner Decl., Ex. S (excerpts from Joint Status Report submitted on 12/4/2020 reporting that up to that point
defendants and third parties had produced 2,472,973 documents, and Plaintiffs had taken 28 defense witness
depositions).

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in these cases;, it was to educate the Court on general cross-cutting matters; 30 nor was it a condition

precedent to any defendants then or later added to providing discovery in this MDL, as some had

already made document productions several months earlier. 31 Indeed, a primary purpose of the

Science Day held in September 2019 was to answer threshold questions the Court had on certain

general scientific issues relevant to the case. 32

           Considering this, Plaintiffs fail to see how a Science Day focusing specifically on turnout

gear exposure has any connection to the TOG Defendants’ obligation to provide information and

documents responsive to Plaintiffs’ Discovery Requests.               Moreover, the fact that the TOG

Defendants’ urgent need to participate in a turnout gear-specific Science Day only surfaced after

being served with the Discovery Requests—despite having joined the MDL more than 17 months

before those requests were served is certainly curious —. The Court should have little tolerance

for delay tactics like this Thus, the Court should reject the TOG Defendants’ attempt to shirk their

discovery obligations by making them contingent on the wholly unnecessary and unrelated

scheduling of a turnout gear-specific Science Day.

           Finally, the TOG Defendants argue that they should not be required to respond to Plaintiffs’

Discovery Requests until a turnout gear-specific Plaintiff Fact Sheet (“PFS”) is put in place. As

an initial matter, any suggestion that the current Personal Injury PFS fails to provide the TOG

Defendants with any information that can be used to evaluate whether the plaintiffs in their cases

have colorable claims is simply untrue. The current Personal Injury PFS requires that plaintiffs

provide information and documents that address, among other things, any past employment or



30
     Croner Decl., Ex. T at 5:8-15.
31
  See, e.g., Croner Decl., Ex. U (6/28/2019 letter from counsel for Defendant 3M Company notifying the PEC that
“3M today is making a document production in the [AFFF MDL] via FTP transmission”).
32
     Croner Decl., Ex. V at 21:9-20.

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training as a firefighter; the locations, sources, and approximate dates of any exposure to PFAS;

the injuries they are claiming resulted from their exposure to PFAS; and the healthcare

professionals that have treated them for those injuries. See CMO 5 at 19-21, 23-24, In re Aqueous

Film Forming Foams Prods. Liab. Litig., No. 18-mn-02873-RMG, ECF No. 205 (D.S.C. Aug. 7,

2019).

         Plaintiffs also fail to understand why the absence of a turnout gear-specific PFS should

have any impact on the TOG Defendants’ obligation to providing information and documents

responsive to Plaintiffs’ Discovery Requests. In fact, courts have routinely rejected this sort of “tit

for tat” approach to discovery. See, e.g., Wei-Ping Zeng v. Marshall Univ., 2019 U.S. Dist. LEXIS

4586, at *10 (S.D. W. Va. Jan. 10, 2019) (holding that parties were “not entitled to receive

discovery on a tit-for-tat basis”); Babcock Power, Inc. v. Kapsalis, 2016 U.S. Dist. LEXIS 96378,

at *8 (W.D. Ky. July 25, 2016) (“[C]onditioning responses to discovery requests on another party's

agreement to do the same, in a tit-for-tat manner, will not be countenanced; each party has an

independent duty to timely and in good-faith respond to discovery requests.”). 33 Moreover, like

their recent demand for a turnout gear-specific Science Day, the TOG Defendants’ motivations are

called into question where they only demanded a turnout gear-specific PFS once confronted with

their own discovery obligations, even though they had already received several of the existing

Personal Injury PFSs in the more than 17 months that had passed since they joined the MDL. As




33
   Accord Gropper v. David Ellis Real Estate, L.P., 2014 U.S. Dist. LEXIS 16849, at *8 (S.D.N.Y. Feb. 10, 2014)
(“Discovery is not equity: one party's noncompliance with discovery requirements does not excuse the other's failure
to comply. Each party's obligation is independent, and any motion to compel will be determined on its own merits.”);
Jayne H. Lee, Inc. v. Flagstaff Indus. Corp., 173 F.R.D. 651, 657 (D. Md. 1997) (condemning counsel’s attempt to
“convert pretrial discovery into a game of brinkmanship” by “hold[ing] his client's interrogatory answers and
responsive documents hostage”).

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such, the Court should reject the TOG Defendants’ attempt to justify their refusal to provide

responsive discovery on the absence of a TOG-specific PFS. 34

         C.       The TOG Defendants Have Waived Any Objections Not Included in Their
                  Written Discovery Responses

         In addition to compelling them to provide responsive discovery, the Court should find that

the TOG Defendants have waived any objections that they have failed to include in written

responses to Plaintiffs’ Discovery Requests to date. Interrogatory objections are governed by

Federal Rule of Civil Procedure 33(b)(4), which provides that the “grounds for objecting to an

interrogatory must be stated with specificity,” and that any ground “not stated in a timely objection

is waived unless the court, for good cause, excuses the failure.” Although waiver is not addressed

in Federal Rule of Civil Procedure 34(b)(2)—which governs objections and responses to document

requests—this Court has observed:

           Failure to raise an objection in response to a Rule 34 request for production of
           documents may constitute a waiver of objections not properly raised, including
           privilege claims or work product claims.

Southampton Pointe Prop. Owners Ass'n v. Onebeacon Ins. Co., 2013 U.S. Dist. LEXIS

205868, at *5 (D.S.C. Aug. 27, 2013) (Gergel, J.).

         Here, each of the TOG Defendants has failed—either in whole or in part—to assert timely

objections to Plaintiffs’ Discovery Requests and no good cause exists to excuse that failure.

Defendants Allstar Fire Equipment and PBI Performance Products, Inc. failed entirely to serve

written responses to Plaintiffs’ Discovery Requests. Further, no good cause exists to excuse that


34
  Plaintiffs and the PEC are unwilling to negotiate with the TOG Defendants over the adoption of a brief turnout gear-
specific PFS. And while they have been roundly criticized by the TOG Defendants for temporarily breaking off such
negotiations, Plaintiffs have consistently maintained that: (a) the parties’ negotiations over a turnout-gear specific PFS
are entirely independent from the TOG Defendants’ obligation to provide responsive discovery; and (b) that the TOG
Defendants’ refusal to provide responsive discovery presents a threshold issue that must be resolved before continuing
negotiations over both a turnout gear-specific PFS, and any objections to the scope of the Plaintiffs’ discovery requests.
Thus, once the present discovery dispute is resolved, Plaintiffs have every intention of resuming negotiations with the
TOG Defendants over a turnout gear-specific PFS.

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failure considering that they requested—and were granted—an extension of their deadline to serve

those responses and have continued to participate in the present discovery dispute. 35                               All

indications are that these two defendants deliberately chose not to provide written responses, and

as a result, they should be deemed to have waived any and all objections to Plaintiffs’ Discovery

Requests.

           The remaining TOG Defendants served written responses where they objected to each of

Plaintiffs’ Discovery Requests in their entirety based on the same threshold barriers identified in

their July 8 discovery letter.36 And while those responses made specific objections to some of

Plaintiffs’ Discovery Requests, they also included language reserving the right to assert additional

objections to the requests “at the appropriate time.”37 This is not permissible under Rules 33 and

34, as courts have held that “[o]bjections not interposed in a timely initial response may not be

held in reserve and interposed after the period allowed for response.” Safeco Ins. Co. of Am. v.

Rawstrom, 183 F.R.D. 668, 671 (C.D. Cal. 1998); see also Garcia v. Yuba Cty. Sheriff's Dep't,

2021 U.S. Dist. LEXIS 85492, at *2 (E.D. Cal. May 3, 2021) (same). As such, the reservation of

rights these TOG Defendants included in their responses does nothing to alter the conclusion that

any objections they failed to make have been waived.

           Nor can these TOG Defendants show good cause for the Court to excuse that failure. In

fact, by including the reservation of rights in their responses, these TOG Defendants only

demonstrate that the decision to include some objections in their responses while excluding others


35
  See Croner Decl., Ex. I at p. 5 (7/8/2022 letter outlining the TOG Defendants’ discovery position and signed by
Allstar Fire Equipment and PBI Performance Products, Inc.).
36
     Croner Decl., Exs. C–D.
37
   Croner Decl., Ex. C at 2, 22, 39-40, 59-60, 77, 98, 114, 135, 152, 172, 189, 211, 227, 250, 268, 288, (stating that
each of the respective TOG Defendants “expressly reserves its right to assert additional and/or more specific objections
to these and any additional or related discovery at the appropriate time”); id., Ex. D at 2, 21 (same for Defendant Fire-
Dex, LLC).

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was made deliberately and not by mistake. For this reason, the Court should find that any

objections they failed to include in their written responses to date have been waived.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant their Motion

to Compel and issue an Order compelling the TOG Defendants to promptly provide information

and documents responsive to Plaintiffs’ Discovery Requests, finding that the TOG Defendants

have waived any objections they failed to include in their written responses to those requests to

date, and granting such other and further relief as may be just, appropriate and warranted under

the circumstances.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed with

this Court’s CM/ECF on this 16th day September 2022 and was thus served electronically upon

counsel of record.

                                                             /s/ Fred Thompson, III
